PACHULSKI STANG ZIEHL & JONES LLP
James I. Stang, Esq. (admitted pro hac vice)
Iain A. W. Nasatir, Esq.
Karen B. Dine, Esq.
Brittany M. Michael, Esq.
780 Third Avenue, 36th Floor
New York, New York 10017
Telephone:     (212) 561-7700
Facsimile:     (212) 561-7777
Email:         jstang@pszjlaw.com
               inasatir@pszjlaw.com
               kdine@pszjlaw.com
               bmichael@pszjlaw.com
and

BURNS BAIR LLP
Timothy W. Burns, Esq. (admitted pro hac vice)
Jesse J. Bair, Esq. (admitted pro hac vice)
10 E. Doty St., Suite 600
Madison, WI 53703-3392
Telephone: (608) 286-2808
Email: tburns@burnsbair.com
Email: jbair@burnsbair.com
Counsel and Special Insurance Counsel for the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:
                                                                         Chapter 11
    THE ROMAN CATHOLIC DIOCESE OF
    ROCKVILLE CENTRE, NEW YORK,1                                         Case No. 20-12345 (MG)

                                     Debtor.


        NOTICE OF HEARING ON THE OFFICIAL COMMITTEE OF UNSECURED
        CREDITORS’ MOTION FOR FURTHER DISCLOSURE AND RESPONSE TO
                     DECLARATION OF ERIC P. STEPHENS


1
  The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last four
digits of its federal tax identification number are 7437, and its mailing address is P.O. Box 9023, Rockville Centre,
NY 11571-9023.

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4882-3117-5330.1 18491.002
         PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors (the

“Committee”) of The Roman Catholic Diocese of Rockville Centre, New York, the above-

captioned debtor and debtor in possession (the “Diocese” or the “Debtor”) hereby moves this Court

for entry of an order, under section 105(a) of title 11 of the United States Code (the “Bankruptcy

Code”) approving the Official Committee Of Unsecured Creditors’ Motion For An Order Granting

Leave, Standing, And Authority To Prosecute A Cause Of Action On Behalf Of The Debtor And

Its Estate (the “Motion”).

         PLEASE TAKE FURTHER NOTICE that a hearing to consider the Motion will be held

before the Honorable Martin Glenn., United States Bankruptcy Judge, at the United States

Bankruptcy Court for the Southern District of New York, Courtroom 523, One Bowling Green,

New York, New York, 10004 (the “Bankruptcy Court”) on February 12, 2024 at 12:00 p.m.

(Prevailing Eastern Time) (the “Hearing”), or as soon thereafter as counsel may be heard.

         PLEASE TAKE FURTHER NOTICE that the Hearing will be a hybrid Zoom/live

conference, with some participants appearing by Zoom for Government and others appearing in

the U.S. Bankruptcy Court for the Southern District of New York, located at One Bowling Green,

New York, NY, in Courtroom 523. Parties wishing to appear at the Hearing via Zoom for

Government, whether making a “live” or “listen only” appearance before the Court, must make an

electronic appearance through the Court’s website at https://ecf.nysb.uscourts.gov/cgi-

bin/nysbAppearances on or before February 9, 2024 at 4:00 p.m. (Eastern Time). After the

deadline for parties to make electronic appearances has passed, parties who have made their

electronic appearance through the Court’s website will receive an invitation from the Court with a

Zoom link that will allow them to attend the Hearing. Requests to receive a Zoom link should not

be emailed to the Court, and the Court will not respond to late requests that are submitted on the



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day of the Hearing. Further information on the use of Zoom for Government can be found at the

Court’s website at https://www.nysb.uscourts.gov/zoom-video-hearing-guide.

         PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion

must be in writing, conform to the Federal Rules of Bankruptcy Procedure and the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the Southern District

of New York, be filed by February 7, 2024 at 5:00 p.m. (Prevailing Eastern Time), and shall

be served on (a) counsel to the Committee, Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue,

36th Floor, New York, New York Attn: James I. Stang, Esq., Karen B. Dine, Esq. and Brittany M.

Michael, Esq; (b) special insurance counsel to the Committee, Burns Bair LLP, 10 E. Doty Street,

Suite 600 Madison, WI 53703, Attn: Timothy W. Burns, Esq. and Jesse Bair, Esq., (c) counsel to

the Debtor, Jones Day, 250 Vesey Street, New York, New York 10281-1048 Attn: Corinne Ball,

Esq. Todd Geremia, Esq, Benjamin Rosenblum, Esq., Andrew Butler, Esq. Benjamin Thomson,

Esq.; and (d) William K. Harrington, U.S. Department of Justice, Office of the U.S. Trustee, 201

Varick Street, Room 1006, New York, NY 10014, Attn: Greg M. Zipes and Shara Cornell, Esq.

         PLEASE TAKE FURTHER NOTICE that if no objections are timely filed and served

with respect to the Motion, the Committee may, on or after the objection deadline, submit to the

Bankruptcy Court an order substantially in the form of the proposed order annexed to the Motion,

which may be entered without further notice or opportunity to be heard.

         PLEASE TAKE FURTHER NOTICE that the Hearing may be continued or adjourned

thereafter from time to time without further notice other than an announcement of the adjourned

date or dates at the Hearing or a later hearing.

         PLEASE TAKE FURTHER NOTICE that any objecting parties are required to attend

the Hearing, and failure to appear may result in relief being granted upon default.



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 Dated:      February 2, 2024   PACHULSKI STANG ZIEHL & JONES LLP


                                /s/ Karen B. Dine
                                James I. Stang, Esq.
                                Ilan D. Scharf, Esq.
                                Karen Dine, Esq.
                                Brittany M. Michael, Esq.
                                780 Third Avenue, 36th Floor
                                New York, NY 10017-2024
                                Telephone: 212/561-7700
                                Facsimile: 212/561-7777
                                jstang@pszjlaw.com
                                ischarf@pszjlaw.com
                                kdine@pszjlaw.com
                                bmichael@pszjlaw.com


                                Counsel for the Official Committee of Unsecured Creditors




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